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                                  EXHIBIT 1
                         Case 2:20-cv-13134-LVP-RSW ECF No. 176-2, PageID.7124 Filed 09/22/21 Page 2 of 2


                                                    City of Detroit                                                              State Defendants

Attorney              all           trial               appeal        sanctions        total          Attorney       trial          appeal               sanctions        total
DHF           d         38.5                 38.5                                                    HM                  13.55
DHF           a         31.5                                  31.5                                   HM                                          0
DHF           s       156.25                                               156.25                    HM                                                              25
DGB           d        50.75                50.75                                                    EG                     15
DGB           a        40.25                                 40.25                                   EG                                          0
DGB           s           66                                                      66                 EG                                                          4.25
JLM           d            7                   7
JLM           a            1                                      1
JLM           s         3.75                                                 3.75
NJF           d        21.25                21.25
NJF           a         4.25                                  4.25
NJF           s           41                                                      41
GRG           d         30.5                 30.5
GRG           a           18                                     18
GRG           s           99                                                      99
PJM           d         1.25                 1.25
PJM           s         42.5                                                 42.5
DAB           s        76.25                                                76.25

total hours                             149.25                   95        484.75              729                       28.55                   0              29.25         57.8

total fee                      $       39,999 $            26,077 $      116,116 $      182,192                  $     10,602 $              ‐       $        11,363 $     21,965




Detroit hour totals and categories are taken from ECF No. 174‐1 at Pg ID 7097.                       State hour totals and categories are taken from ECF No. 173‐2
                                                                                                     at Pg ID 7009‐7010 and ECF NO. 173‐3 at Pg ID 7015‐7016.
